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Honorable Judge,

My name is Robert Girardi, and I am writing this letter to provide insight into the character and
circumstances of my older brother, Tom Girardi. I believe that to determine an informed and appropriate
sentence, it is crucial to consider the entirety of Tom’s entire life, including his numerous and signiﬁcant
contributions to the ﬁeld of law, his widely recognized skill and aid to thousands of past clients, and the
gravity of his diminished mental state and current medical condition.

Professional Accomplishments

Tom’s legal career spans over 50 years, during which he made substantial and vital contributions to both
the legal profession and society. He is widely recognized as a pioneer in "toxic tort" litigation, taking on
formidable opponents to protect the rights of individuals harmed by environmental and health-related
issues.

His most widely recognized achievement was his involvement in the landmark case that inspired the ﬁlm
"Erin Brockovich." As an essential part of the legal team, Tom played a crucial role in securing a $333
million settlement for the residents of Hinkley, California, against Paciﬁc Gas and Electric Company
(PG&E) in 1993. This case brought justice to hundreds of aﬀected individuals and set a precedent in
environmental law and toxic tort litigation.

Throughout his career, Tom consistently championed the cause of the "little guy," taking on numerous
David vs. Goliath cases, including:

- More than 30 verdicts of $1 million or more

- Over 100 settlements of $1 million or more

- Senior Counsel on a $4.85 billion settlement against Merck for personal injuries related to the drug
Vioxx

- A $45.5 million verdict against Ford Motor Company in a defective seat belt case

Recognition and Philanthropy

Tom Girardi’s contributions to the legal ﬁeld have been widely recognized by the public, the legal
profession, and his peers. He was inducted into the Trial Lawyer Hall of Fame and consistently ranked
among the top lawyers in California. In 2015, he was voted the best lawyer in a poll of 38,000 California
lawyers.

Tom personally paid for the construction of a multi-story building at Loyola Law School, which he named
in honor of our Father. Tom taught a class at the Law School every semester for over 40 years.

During Covid, when the Civil Courts were closed and the ﬁrm was not generating any income, Tom
voluntarily sold all of his Las Vegas assets for approximately 80 million dollars, which he used primarily as
payroll to take care of those he employed to keep the law ﬁrm in business.

Beyond his professional achievements, Tom Girardi has been involved in numerous philanthropic eﬀorts,
supporting organizations dealing with public justice and inner-city law centers.

Severity of His Current Medical Condition
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When determining an appropriate sentence, it is crucial to consider Tom’s current health status. At 85
years old, he is suﬀering from severe cognitive decline and serious physical limitations:

- He has been diagnosed with dementia and resides in a locked-down Alzheimer's memory care facility,
which I have personally paid for. To date, his medically required care, including his supervised institution,
has totaled almost $750,000

- His short-term memory has been tested and determined to be at the one-percentile level

- Tom has barely controlled glaucoma and he is going blind. He has had multiple surgical events at the
Jules Stein Eye Institute at UCLA to insert tubes into his eyeball to reduce the intraocular pressure. He is
blind in one eye and losing vision in the other. He requires medication for this, which is administered by
a registered nurse twice daily that the opthalmologist says he must not miss to preserve his limited
vision.

- His day-to-day activities include sitting alone at a table writing hundreds of pages of unintelligible notes
and being taken for 3 meals a day by the facility staﬀ. He needs assistance bathing and changing his
clothes.


                                                   I’ve never seen him interact with any of the
residents on the ﬂoor. Most of the people on the ﬂoor don’t know where they are.

- Tom is still very socially savvy. He carries a conversation well and is very agreeable, but to the astute
observer, one will notice that he never uses people’s names and instead refers to people generically. For
example, he calls me “my friend” and I don’t believe he knows my name. He does not know the name of
his kids, or maybe that he even has kids. Tom’s savvy includes redirecting conversations to the person in
front of him. He asks questions to deﬂect his lack of memory on a topic. Then he will ask the same
question more than a dozen times in 30 minutes. If Tom is asked about himself, he thinks he is still
practicing as a lawyer, though he couldn't name a case or a client or any colleagues. I’ve called him to tell
him I’m going to visit for lunch, and when I get there, he has no recollection of the conversation saying I
would visit him in an hour.

Three years ago, the severity of his Alzheimer's caused him to wander oﬀ after a medical appointment,
leaving him lost and wandering in Pasadena for three hours before being found and rescued. Notably, he
was unaware of the fact that he was lost, highlighting the severity of his condition. I believe that if Tom
still had his facilities intact, none of the alleged acts of wrongdoing would have occurred.

Conclusion

While the alleged oﬀenses are serious, as Tom’s brother and his court-appointed conservator, I
respectfully ask the court to consider Tom Girardi's lifelong dedication to justice, his numerous
contributions to the legal profession, and his current severely diminished mental and physical state. A
compassionate sentence that takes into account his medical needs and inability to pose any future threat
to society would be most appropriate.
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Tom Girardi's legacy as a champion for the underdog and his groundbreaking work in environmental and
personal injury law has left an indelible mark on the legal landscape. His condition renders him unable to
engage in any further legal practice or pose a risk to others.

I believe that an appropriately compassionate sentence would include his court-directed conﬁnement in
a suitable medical facility to serve justice while also addressing his urgent daily medical needs. I want the
court to know that I am willing to pay for the advanced daily care he requires. Such a sentence would
reﬂect both the gravity of the oﬀenses and the unique circumstances of this case, embodying the
principles of wisdom, justice, mercy, and common sense that our legal system strives to uphold.

Thank you for considering the totality of these factors in determining a legally appropriate yet
compassionate sentence for my brother.



Respectfully submitted,



Dr. Robert Girardi
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                                           #:10582


Kenneth Girardi
7447 Henefer Ave.
Los Angeles, CA 90045
(310)670-4063




November 15, 2024




Hon. Josephine L. Staton,

        My name is Kenneth Girardi and Thomas Girardi is my uncle. I admit I am biased and want to see
the best possible outcome for him as I believe he is a good person. I pray and hope you consider his
sentence would be to put him on house arrest and monitored at the nursing home.

         Growing up Tom was always busy, but kind and inclusive. Ninety-Nine percent of the people I
meet that ask me if I was related to him always had kind words about how he has positively impacted
their lives. People behaved different after they found out we were related, and they were even nicer to
me. I still live in the area where he and my father grew up and I continue to run into people that went to
elementary school with him that pass on fond memories and experiences. Before any of this legal stuff
has happened, I would say he had more friends than almost anyone I knew.

        I know he loves the legal profession and talking to him about career advice, he said if he did not
have this law career, he didn’t know where he would end up. Other lawyers have told me adding his
name to a case automatically increased the value of the case for the client. He has helped countless
victims with their legal matters.

         After I graduated from undergrad, Tom encouraged me to continue my education and get a
graduate degree. I remember having ethics conversations with him while I was getting my MBA and what
was appropriate and what was not. Who was allowed to bill on contingencies and why it was illegal for
others. We talked business, and losing money on early career attorneys, because they could not bill
enough hours to cover their salaries and expenses. He explained to me the why it was important to take
that loss on early career attorneys and help them grow professionally and advance the field of law.
Eventually if they stayed long enough and continued to grow, they would pass the break-even point and
begin to generate revenue.

         I do not believe he had bad intentions for the alleged acts for which he was charged. I know Tom
felt financially responsible for all the people that worked at the law firm; and the stress that came with
making payroll and operating the law firm weighed on him.

       I have seen the deterioration in his mental capacity over the past several years. His natural
charm and personality do a really good job of masking how bad it really is and how easy it would be for
someone to question it. Most men he referred to as 'pal' and most women he referred to as 'chick',
these were both terms of endearment for Tom and he continues to use them today. It is a very
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convenient way of hiding not remembering or recognizing an individual. He says it so graciously, it comes
out endearing. I also think his natural ability to read the room, allows him to pick up items and converse
like knows what is going on, similar to a psychic who uses cold reading techniques. The couple of years
before COVID, he was on the LMU Board with my wife’s cousin. She would always tell us after the board
meeting how nice he was and how they got along, but when I would talk to Tom, he would have difficulty
remembering those board meetings.

        Tom's symptoms now remind me of my grandfather near the end of his life, but seem to be
much worse at a younger age. When I visited Tom at the beginning of COVID, he was slightly more aware
of what was going on in the world and would not repeat himself as much. He knew there was a
pandemic, but did not know about the firm closing. But I had heard from those around him that he
shouldn’t be alone since the car accident. Now when I talk to him, I do not know if he truly recognizes
me and is just being gracious or if it comes and goes where he recognizes me and forgets who I am. I
think he is just happy to have a little attention. He only calls me 'pal', I don't think he has said my name
in probably 4 years, and it was always after someone else said it first.

         I have experienced 7 deaths in the last 10 years for family members, mostly from cancer, but
other ailments as well and have been by the side of 3 of them when they have taken their last breath. It
has changed my definition of dignity. I have witnessed both extremes, where one admitted she was
scared and did not want to die at 65, to my aunt who was very accepting of her choices and died from
lung cancer. She used her illness as a teaching moment for my daughter to never smoke. Being able to
pass away at home on one's own terms is something everyone should be afforded. Both my aunt and my
sister-in-law did not want to die in a hospital, and we were able to get them home for a few days at the
end. Although Tom no longer has a 'home', the memory care facility is the next closest thing. It pains
me to think that he could die in jail.

          Tom will not have any opportunity to commit these type offenses in the future. I understand he
lost his license to practice and the law firm closed. Both of which he does not acknowledge happened.
He does not have access to money. I pay for a cell phone for him, it is only a flip phone on a prepaid plan.
My dad tried to give him an apple phone at the beginning of COVID so he could use the assistant on the
phone but he lost it within a week and does not remember ever having it. He lives in a memory care
facility on a locked floor, not many people visit him and he gets excited for visitors. He always has a legal
pad with him and is writing down notes for cases that are over or do not exist. I have not read them for
fear of offending him, but in his mind he is always ‘working’.

         Two years ago, I did not think Tom would have been alive today with his physical and mental
health. He needs help getting out of bed, and using the restroom and basic hygiene. His glaucoma is so
bad he is can’t see out of 1 eye and requires surgery. His life right now is really sad, and I can’t imagine
being in that situation without all the legal issues going on around him. Most of the people in his life
have abandoned him or are keeping their distance. When I visit him, I only stick to safe topics. I always
ask about are his parents, or the area he grew up in. But he will repeat his answers several times the rest
of the visit, not remembering he already answered it. He always asks several times in the same visit what
is going on with me and how is work, but keeps the question vague, because he doesn't remember who I
am or what I do. I fear with all the help he needs in daily life that any prison sentence will greatly
accelerate his deterioration. It will also take away any remaining human dignity a memory care nursing
facility may afford him. His current situation is like a prison, because most of his friends and family
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have distanced themselves. Keeping him there for his remaining years might offer him a little more
dignity in an already sad situation. I believe Tom waking up in prison everyday would confuse him
more than he is now, and he would not fully understand what was going on or why he is there.

         Not that it should matter, but the financial interest Tom's firm had in the Porter Ranch Gas Leak
Lawsuit settlement should be enough to make everyone financially whole. I hope his sentencing hearing
is not preventing the court appointed trustee from distributing the funds to keep the number of victims
higher for when he is sentenced.


        Thank you for your time and consideration in this matter.

Sincerely,




Kenneth Girardi
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November 19, 2024
Honorable Josephine L. Staton
United States Federal Court
Los Angeles, CA
Re: U.S. v Thomas V. Girardi CR 23-47-JLS

Your Honor:

I write on behalf of my patient, Mr. Thomas Girardi, to provide information to be considered at the time of
his sentencing. Mr. Girardi was referred to me for a neurological consultation, which took place on April 8,
2021. I saw the patient in follow-up clinic visits on 11/12/2021 and 4/13/2023. Over approximately this
interval of time, he underwent serial mental status exams, assessment of activities of daily living,
neuropsychological testing, and imaging studies which substantiated a slowly progressive cognitive and
functional decline.

My professional opinion (stated in a letter dated May 31, 2023) is that Mr. Girardi suffers from a slowly
progressive and untreatable dementia known as LATE (Limbic-predominant, Age-related, TDP-43,
Encephalopathy). Family and colleagues noted changes in his mental status and behavior beginning with a
car accident in 2017. From the presence of severe hippocampal and temporal lobe atrophy evidenced on an
MRI dated 7/31/2017, I infer that a neurodegenerative process had started prior to 2017.

By May 2023, I graded the severity of Mr. Girardi’s dementia to be moderate in severity. Across specific
cognitive and functional domains, he evinced: 1) severe impairment in memory, 2) moderate disorientation
to time and place, (3) significant impairment in problem solving and judgment, 4) inability to conduct outside
activities, and 5) need for assistance in dressing and hygiene.

Because of the severity of his cognitive impairment, he is no longer capable of committing the sort
of offenses for which he was judged guilty. Since June 2022, he has been living in a secure, skilled
nursing facility. For his care and safety, I recommended in December 2023 and February 2024 that
the Court appoint a conservator and remand placement to a locked or secure skilled nursing facility.
Based on his medical needs, I respectfully ask that you consider keeping him in the Memory Care
wing of a locked assisted living facility.

Sincerely yours,



Helena Chang Chui, MD
McCarron Professor and Chair of Neurology
Medical License: G45721

cc:      Charles_Snyder@fd.org, Sam_Cross@fd.org, Natalie_Degrati@fd.org
                                      USC Health Care Consultation Center
                            1520 San Pablo Stree.t. Suite 3000. Los Angeles, CA 90033
                                      Tel 323 442-7557 • Fax 562.442-5736
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Hon. Josephine L. Staton                             November 18, 2024
Re: Thomas Girardi

Your honor,

I have known Mr. Girardi since 1996 when I was an expert witness in the lawsuit brought by the
residents of Hinckley, CA against PG&E for the contamination of groundwater with hexavalent
chromium. This case, made famous by the movie Erin Brockovich, settled for $333 million, the
largest class action lawsuit in the US at the time. That began my long association with the firm
of Girardi & Keese testifying as an expert in occupational toxic exposures (Lockheed Aircraft), as
well as in personal injury cases of neurological and psychiatric damages. In addition to the
professional time spent preparing for depositions and trials, I spent many dinners and other
social events with Mr. Girardi and his family and staff. I considered him a good friend and went
on vacation trips with him and met with him when he came to Washington, DC on business (I
live in suburban Maryland).

Mr. Girardi was generous and thoughtful. On one occasion while I was there, he paid the
college tuition for a clerk in his office, pretending it was a regular scholarship that had been
established for workers in the firm. The results he won for his clients were exceptional by any
standard, because in my opinion, he really cared for their welfare.

As the years went on this brilliant lawyer and entertaining raconteur began to show signs of
mental impairment, including meeting me at the wrong restaurant in New York City, having
mistaken one Italian place for another. He often retold the same anecdote many times as if it
were new. During one trial he went to play golf and left my testimony and cross examination to
a junior associate, who had never before presented a case to a jury. Years before these events I
had spoken to his Internist about getting an MRI of the brain to evaluate causes of dementia.
He finally had an evaluation by Helena Chui, MD, Chair and Professor of Neurology at USC, who
confirmed his diagnosis of dementia. He now resides in a facility for the senile elderly.

I cannot judge the events for which he has been convicted, but it would not surprise me if he
had not been taken advantage of by those around him who managed the finances in this firm.

He now spends his time in care, no longer able to participate in the life he used to live. There
can be no worse punishment than the irretrievable loss of one’s cognition.

Respectfully yours,
signed
James R. Merikangas, M.D.
Clinical Professor of Psychiatry and Behavioral Science, George Washington University
Co-Founder, American Neuropsychiatric Association
Former President, American Academy of Clinical Psychiatrists
Distinguished Life Fellow, American Psychiatric Association
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      EXHIBIT 2-6
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                          Rick Kraemer
                    889 South Victoria Avenue
                   Los Angeles, California 90005


                           November 15, 2024

  Honorable Josephine L. Staton
  United States Federal Court
  350 West First Street
  Courtroom 8A
  Los Angeles, California 90012

  RE: Thomas V. Girardi

  Please accept this letter in consideration of Mr. Girardi’s
  upcoming sentencing on December 6, 2024. Tom’s life and
  career is much like a painting in a museum, if one looks at it up
  closely, it is hard to see the entire picture. When one steps back
  and looks at Tom’s career, the picture differs from what has
  been under the microscope in the recent trial and the public’s
  opinion.

  For background, I own Executive Presentations which has served
  the legal community in Southern California since 1986. My
  company has been involved in over 15,000 legal matters, having
  prepared trial presentations and in-trial technical support to top
  tier firms and prominent litigators. I hold a Bachelor’s Degree in
  Marketing from the University of Wisconsin, and a Master’s
  Degree in Economics/Finance from Houston Christian University.

  I first met Tom in the mid-1990s. I volunteered to take pictures
  at an American Board of Trial Advocates event in 1996 where he
  was being honored as CAL-ABOTA’s Trial Lawyer of the Year.
  Subsequently, Tom would call me when he needed a
  photographer to cover an event.
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  In 1998 Tom became the CAL-ABOTA president and had me
  photograph events for him. In 1999 Tom became the national
  president of ABOTA and personally funded my travel with him to
  photograph the ABOTA events he presided over. Subsequently,
  ABOTA adopted me as their national photographer, which
  position I still hold to this day. This sequence of events also
  cemented my company, Executive Presentations, in the Southern
  California Legal community as a “go to vendor” for legal
  presentations. Tom coined the phrase “Its Legal Malpractice not
  to use Executive Presentations” which brought more clients to
  my small company. In 2005 Tom became President of the
  International Academy of Trial Lawyers, and I subsequently
  became their national photographer generating additional
  visibility for my company.

  Tom’s support and generosity were a “game changer” in my
  career. Over the years I had the pleasure of interacting closely with
  Tom “in the trenches” on high stakes/profile cases and observed
  his diligence, and his civility when collaborating with the Court, his
  adversaries, and his clients. I witnessed Tom’s peers, staff, and
  vendors all holding him in high regard as to his warm demeanor
  and yeoman work ethic.

  My Godfather once told me there is good in everyone. I am asking
  you to consider the good that Tom Girardi has done, and that it not
  be overshadowed by his misdeeds. Last week I was at the Jonathan
  Club and the parking attendant told me of Tom’s generosity with
  himself and the JC staff. Tom respected and made working class
  people feel important. It is said that sad news always overshadows
  good news, although I still am regularly reminded of the many
  honorable deeds related to Tom.

  After Tom’s car accident in 2017 he began to decline. People at the
  firm testified in his trial that Tom was losing it, and trial testimony
  from the G&K firm emails amongst his lawyers was that he cannot
  remember anything (politely saying it).
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  When Girardi & Keese closed its doors in December of 2020 during
  the pandemic, Tom’s brothers Jack and Bob asked me to assist in
  looking after Tom who was no longer “the guy” I knew 25 years
  ago. His mental health had deteriorated, and he was experiencing
  physical health issues including blindness. His vibrancy and zest
  were gone. I would show him pictures of friends and he could not
  recognize or remember them. While Tom was still living at home, I
  would take him meals and administer his eye drops. Tom was not
  capable of remembering to take his medications, administer his eye
  drops which were imperative for his vision and care for himself. He
  also was prone to do things that were unsafe like turning on the
  oven for heat because the heating system in his home was not
  functioning. We ended up turning off the gas to the stove to prevent
  him from being in danger. Most everyone had deserted him as his
  generosity was no longer able to be taken advantage of. Tom’s
  daughter Jenny and I would trade off assisting him and keeping him
  company.

  One day Isabell, a caretaker who his brother Bob Girardi was
  paying for 8 hours a day, took Tom to an eye doctor’s appointment
  in Pasadena and waited for him out front. Tom, not remembering
  she was there, went out another door and started walking home.
  Another time an emergency arose, and I was called at 6 am to take
  Tom to UCLA Stein Eye Institute as the shunt in his eye was
  protruding out of his eyeball. Tom became restless and wanted to
  leave the facility before they could tend to him. He did not
  understand the gravity of his medical condition and eventually he
  lost sight in his eye. Yet another time I took him to a doctor’s
  appointment, and he started to shuffle through credit cards to pay.
  The credit cards had been shut off over a year ago. With no driver’s
  license, or ability to call Uber (as he had lost the I-Phone the day
  after his brother Bob gave it to him and only uses a flip phone),
  Tom was immobile and relied on the care of the few that were left
  to help.
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  One day while sitting on his porch I “lit” into Tom about his
  fabrication of the firm being open and new cases coming in. I told
  him it was not so, and his retort was “do not scold me!” It was
  strange to be admonishing a man I once looked up to. That said,
  when I am asked why I am still kind to Tom I respond that I am not
  the law or his maker, I am a friend who cares about his well-being.

  Since leaving his home in Pasadena (now sold) I visit Tom regularly
  in the nursing home and he does not remember what I tell him and
  asks me the same questions repeatedly. Our conversations are not
  deep as he cannot connect with his thoughts. I testified in Mr.
  Girardi’s competency hearing that Tom was/is significantly
  compromised mentally and physically failing. I stand by my
  testimony and Tom’s mental cogency has further declined since
  then. When individuals say he is “faking it” I ask how would you
  know, have you been to see him?

  Tom needs 24-hour lockdown care in a dementia wing of a nursing
  home and shares a room with another dementia patient. The
  attendants at the nursing home tell me he is in his own world
  (whacked), a world far from the world he once knew. Last month
  when I was at the nursing home, we called an old friend Browne
  Greene (I did the talking) to wish him a happy 88th birthday. When
  we got off the phone Tom asked me what firm Browne was with,
  and then asked me his (Browne’s) name. Tom had no recollection
  of Browne, who he has known for over 40 years.

  My conversations with Tom on the telephone usually last less than
  a minute with no substance. Typically, after getting off the phone,
  he often calls me back asking if I had called. When I ask him what
  he has been doing he says he is with lawyers and will be back at
  home (Pasadena) tomorrow. He still thinks he owns his home. This
  past summer lunch was set up by a lawyer who did not understand
  Tom’s mental status. Tom told the lawyer that his driver would take
  him to Hillstone’s in Santa Monica. The lawyer phoned me the
  morning of the scheduled lunch and I told him “there is no driver,”
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  therefore no lunch.

  Tom repeatedly tells me he speaks with and sends work daily to
  Shirleen Fujimoto, his former assistant. Shirleen has not spoken to
  Tom since the firm dissolved in 2020. If one were to call Tom today
  and ask him what Rick Kraemer’s first name is, he would say
  “Kraems”. As well he does not remember my wife’s name and refers
  to her as “the chic.”

  When considering Tom’s sentence, I urge you to find a way to look
  at the “entire picture” and consider the good Tom has done for so
  many along the way. Tom is not capable of any further harm or for
  that matter bestowing any generosity for which he was once
  known. Individuals, including members of the judiciary, colleagues,
  and former employees, care deeply as it relates to Tom’s well-being
  and seeing that he is in proper hands with good medical attention.

  Please consider my heartfelt thoughts above and feel free to
  contact me if you have any questions. My cell phone number is
  213-500-2321.

  Sincerely,
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                                   #:10599




      EXHIBIT 2-7
Case 2:23-cr-00047-JLS   Document 421-2 Filed 12/06/24   Page 26 of 43 Page ID
                                   #:10600
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                                   #:10602




      EXHIBIT 2-8
Case 2:23-cr-00047-JLS   Document 421-2 Filed 12/06/24    Page 29 of 43 Page ID
                                   #:10603




                                                Robert Sonne
                                                         67 S Higley Rd Ste 103-412
                                                                  Gilbert, Az 85296
                                                 Bob 480.276.9178 Pianogy@aol.com


November 17, 2024


Hon. Joephine L. Stanton:

I met Tom Girardi in 1972 through his brother, Robert
Girardi, who was and still is my best friend. Through
the years, I have attended many social functions that
included Tom, where Tom was always the one to “light up
the room.” Any event was that much more enjoyable with
Tom present, as he had the gift that drew everyone to
him. His kindness and attentiveness, his sharp wit and
intellect made him a special member of any group.

As the years went by, Robert would keep me up to date
of Tom’s many successes and accomplishments, both in
his law practice and in his personal life, always about
Tom’s generosities with others.

In the past decades, as a building contractor, I have
had a few legal issues that Tom was always happy to
assist me and would often resolve the issue with a
phone call or a letter. He would never send me a bill..

In the early 1990’s, I was facing some monetary
hardships when I was sued by a former client. Tom took
the case for no charge as he realized my dire financial
position. Through his kindness and generosity, I was
able to settle the issue and retain my California
contractors’ license and move ahead re-building my
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business. I was then, and am now, indebted to Tom and
his kind generosity.

I talk to Robert weekly and have been following the
legal problems of his brother, Tom the past few years.
The constant negative news and reports, the episode of
American Greed, and the series of articles in the LA
Times have left me perplexed as this isn’t the Tom
Girardi I’ve known. These stories were about someone
else. And, as I have discovered, these stories were.

Last Tuesday, November 12, 2024, I had the oportunity
to go to dinner with Robert and Tom. Tom is a shell of
a man I used to know. He had the same “light up the
room presence, was personable, attentive, entertaining
and happy, with a few wonderful stories and jokes---for
about five minutes. Then, for a second time, Tom asked
me where I lived and what I did. And then a third and
forth time. Tom would tell a story and then repeat a
story he told ten minutes earlier. He then, again,
would ask where I lived and what I did.

I asked how he was being treated where he lived.

“Oh, I don’t live here, I’m just here for a week for
some meetings,” he replied. “I live in Pasadena
overlooking the Rose Bowl in a house designed by the
guy who designed the Rose Bowl. I’m about fifteen
minutes from my office. All the attorneys working for
me live on the West side and must drive an hour.”

This is not the Tom Girardi I knew for all these years.
My experience with Tom the other night showed that he
isn’t right. That he has suffered an affliction
through no fault of his own that renders him incapable
of caring for himself, let alone running a multi-
million dollar law firm as he did for most of his life.
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Tom Girardi is incarcerated at the present time and has
been for the last few years. He is in a facility being
paid for by his brother, Robert, where he can’t leave
or freely move around. His everyday activities are
completely monitored.

His final years should not be spent as a prisoner of
the State, but under the care and guidance of his
family and the personnel of his current living
facility. He is a threat to absolutely no one except
to himself as he requires constant care.

I hope the court can make the decision to let Tom
Girardi live his remaining years where he is now.

With kind regards,

Robert Sonne
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                                   #:10606




      EXHIBIT 2-9
Case 2:23-cr-00047-JLS            Document 421-2 Filed 12/06/24        Page 33 of 43 Page ID
                                            #:10607

 From:           Wayne Boehle
 To:             Charles Snyder; Sam Cross; Natalie Degrati
 Subject:        Tom Girardi letter
 Date:           Saturday, November 30, 2024 9:55:19 AM


 EXTERNAL SENDER
 Judge Staton
 My name is Wayne Boehle and my bar number is 49286. I was admitted in California in 1971.
 I have known Tom Girardi since 1963. Both of us attended Loyola University. Tom was 2-3
 years ahead of me.
 After law school I started working for the firm of Waters McCluskey and Cochran. I became
 partner in 1974 and ran the firm the last 30 years of my practice. After retiring, I became a
 mediator and work for ADR Services Inc. I have been mediating cases for approximately 9-10
 years.

 During my tenure as a defense attorney handling civil matters I probably had 30-40 cases with
 Girardi Keese. Tom handled most of them when they would arrive at the settlement stage of
 the proceedings. With the exception of the last case I handled with Tom, I never had any
 problems with Tom or his firm in the handling or settlement of the cases. It’s clear to me now
 that the problem I had, was a result of his failing mental health. I actually walked into his
 office at a deposition and told him that I thought we were friends , but friends wouldn’t leave
 the voicemail he left me then walked out. 6-7 months later the case settled and he left me a
 voicemail thanking me for helping to get the case settled. I believe he was having problems at
 this time which was around 2012.

 I want to say that when Tom was in his prime as a trial lawyer, there were few lawyers that
 could match his skills. He could pick up a file knowing little about it and try the case in an
 expert manner. His people skills were amazing. His IQ was off the charts. That’s why it was
 horrifying for me to learn of the problems that he caused and perpetrated at the end of his
 career. I know he needs to make restitution and be punished. I only hope that the 90% of his
 career is taken into consideration when his sentence is handed down. He truly was respected as
 one of the best civil trial lawyers in the country. What happened to the deteriorating conduct
 that has come out will never be understood by this writer. Hopefully Tom will not pass away
 in prison. Sincerely, Wayne J Boehle
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   EXHIBIT 2-10
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                                        #:10609




November 13, 2024



Honorable Josphine L. Staton

       Re: U.S. v Thomas V. Girardi CR 23-47-JLS

Dear Your Honor:

I have worked with Mr. Girardi for 34 years and was one of his legal assistants.

Tom has always been a kind, understanding, and empathetic person. He was always a role
model for the team, and someone many of us coworkers looked up to. During my time
working with Tom for 34 years, we experienced a lot of what life has to offer together. I was
there through his challenges as well as his wins, as he was for me. During my 3rd
pregnancy, I was diagnosed with cervical cancer. This life-shattering news devastated my
family and left me in fear of the unknown. Tom provided me with the strength and support
needed to get through the trying time. He ensured I seek the top doctors and that my family
remains taken care of while I focus on healing and surviving. There was also a time in my
life when my aunt was suffering from breast cancer, that had ultimately spread to her brain.
She was nearing death and only had a few weeks left to live. She needed to be placed in
hospice care, which cost around $5,000. When I told him about my aunt’s situation, he
immediately was willing to assist financially. A final example I would like to share does not
involve myself or my family, but rather the thousands of clients he had and took care of.
There were many times where clients needed advancements, to help pay their bills, or to
provide food on their tables, and Tom ensured they received the help they needed to
support themselves during the tough legal battles they were in.

Tom has always spoken about how he likes to help people who don’t have a voice. He
would rather help than to harm or to take anything from anyone. I strongly believe that Tom
had no ill intention of financially harming any of his clientele. The only thing he is at fault for
is for being too kind and allowing individuals to take advantage of him. In the 34 years I
have worked for him, I have never seen him waver from the kind, optimistic, helpful person
that he still is. I know Tom to be very smart and thoughtful. The thing that I have learned
from him is to have patience and to think before reacting. I now apply that to my everyday
life.

During the last few years of the law firm still being active, I noticed that Tom began to slow
down. He would seem distracted and confused and would often repeat the same stories or
commands. I believe this was the start of his mental deterioration.
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I believe Tom would not commit any sort of offense based on the type of person he is. He
only means well and has only the purest intentions. Additionally, he has a deteriorated
mental state that would prohibit him from trying to carry out any situation as such.

Tom needs medical assistance mentally and physically. He is getting older and, as stated
prior, his mental state is deteriorating. He would benefit from a home that cares for older
individuals suffering from mental inabilities as well as the harsh realities old age has on our
bodies. I know that prison would only deteriorate him further and not allow him to receive
the proper medical help he needs. He has already lost his firm, his family, friends, and
many of the people that were in his close circle. He deserves to live out the remaining years
of his life with some type of peace.

Thank you for reading my statement and taking it into consideration.

With best intention,

Kim Cory
(626) 991-2891
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   EXHIBIT 2-11
             Case 2:23-cr-00047-JLS                  Document 421-2 Filed 12/06/24                              Page 38 of 43 Page ID
                                                               #:10612
                                                                        LAW OFFICES

                                                           KEESAL, YOUNG & LOGAN
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                                                                                                      ‡   A D M I T T E D I N W A S HI N G T O N & C A L I F O R N I A
                   OF COUNSEL                                                                         §   ADMITTED IN ALASKA & CALIFORNIA

                                                                November 22, 2024
ROBERT H. LOGAN         WILLIAM MCC. MONTGOMERY                                                       +   A D M I T T E D I N DI S T RI CT O F C O L U M BI A & F L O RI D A
TERRY ROSS              JON W. ZINKE°                                                                 ₤   A DM I T T E D I N D I S T RI CT O F C O L UM B I A , O R E G O N, W A S H I N G T O N
RICHARD A. APPELBAUM+   ROY DELBYCK^                                                                      & C A L I F O R NI A
REAR ADMIRAL, U.S.C.G. (RET.)                                                                         °   R E G I S T E R E D F O R E I G N L A W Y E R W I T H T H E L A W S O CI E T Y
                                                                                                          OF HO NG KO NG 1982-2022 & ADMIT T ED I N NEW YO RK
                                                                                                      ^   R E G I S T E R E D F O R E I G N L A W Y E R W I T H T H E L A W S O CI E T Y
                                                                                                          OF HONG KONG

                                                                                                          ALL OT HERS ADMITTED IN CALIFORNIA




              The Honorable Josephine L. Staton
              United States District Court
              Central District of California
              350 West 1st Street, 8th Floor
              Los Angeles, CA 90012

              Dear Judge Staton:

                             I am writing regarding Tom Girardi. I have known Tom for some 30 years, have
              had dozens of cases against him and have referred cases or worked on cases where we were co-
              counsel. I am amazed he finds himself in this position. It is out of character for the Tom I knew.
              Tom was always a fine lawyer and a fine gentleman who stood by his word on literally dozens if
              not hundreds of occasions. He always was willing to take the high road. Two examples of his
              doing so are as follows:

                             We represented the owner of the Queen Mary. I was called in route from the Indy
              500 by the owner advising that he had been sued by Dick Clark from American Bandstand
              regarding my client's failure to make approximately $9M in payments due pursuant to his
              agreement to rent Dick Clark's artifacts for display in the Spruce Goose Dome adjacent to the
              Queen Mary. My client acknowledged the fact that he owed Mr. Clark approximately that
              amount, could not pay it because he simply did not have the money, but was concerned there was
              a $30M punitive damage claim which, if it was not withdrawn, would result in the failed bond
              offering currently pending. I called Tom from Cincinnati Airport and described these
              circumstances. Tom said he was not certain that he could maintain a punitive damage claim and
              said he would withdraw the claim subject to reinstating it on what we both agreed was 90 days
              before trial. When I got back to the office, I found that he had dismissed the case with prejudice.
              I in turn reminded Tom that the agreement was that it should be without prejudice so that if
              evidence materialized that supported the claim, he could reinstate it up to 90 days before trial.
              The case thereafter settled but his willingness to withdraw the claim I thought reflected well on
              Tom.

                              On another occasion, we were lead counsel for Unocal regarding the oil spill
              disaster at Avila Beach. An associated counsel had suggested a settlement amount which we had
              disclosed to Unocal. Unfortunately, at the mediation chaired by Judge Daniel Weinstein, that

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The Honorable Josephine L. Staton
November 22, 2024
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counsel refused to stand by this acceptable amount. Tom was upset that that attorney had done
so and dealt with the issue in a straightforward manner even though it was not in his best
financial interest to do so.

                As to Tom's mental state, I do have some insights. I arbitrated a case downtown
with the AAA at a time when Tom owed monies to the person for whom I was arbitrating the
case. We had several lunches together during which Tom spoke of that person and the
circumstances surrounding his claims against Tom. His description of the circumstances was
inaccurate and inconsistent time after time. My partner, Michael Gless (who has likewise known
Tom for many years) and I discussed his lack of continuity of thought and our concern regarding
his cognitive abilities. I have not spoken to Tom since his problems surfaced and put forward
these thoughts so the court might see a Tom Girardi that I knew and liked so that you can in turn
determine what sentence Tom should receive.

                I must remind the court that I was involved in the Pacific Hospital case and asked
for a sentencing which the court did not feel was appropriate. I know very little about this case
and am not urging a particular sentence for Tom but wanted you to have a feel for Tom which
others may be reluctant to express in all the circumstances.

                Thank you for your consideration of any or all of these comments.

                                                 Best regards,



                                                 Samuel A. Keesal, Jr.
                                                 skip.keesal@kyl.com

SAK:kdg




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   EXHIBIT 2-12
Case 2:23-cr-00047-JLS          Document 421-2 Filed 12/06/24            Page 41 of 43 Page ID
                                          #:10615

 From:           Gary T Drummond
 To:             SCharles_Snyder@fd.org; Sam Cross; Natalie Degrati
 Subject:        THOMAS GIRARDI, SENTENCING LETTER (CR 23-47-JLS)
 Date:           Wednesday, November 20, 2024 11:37:44 AM


 EXTERNAL SENDER

 Hon. Josephine L. Stanton

 Your Honor:

 Tom Girardi and I have been long distance friends—friendly adversaries, actually—and I was
 distressed to hear of his manifold troubles of late. First was the State Bar investigation,
 simultaneous with the onset of dementia, then, after he had lost everything important to him,
 the stunning news of his conviction. I would not, of course, presume to comment on the
 recent verdict against him, but I have to say that the actions portrayed are utterly, completely
 out of the character of the man I know.

 Tom was the spirit of quiet generosity, in attitude and deed, and he unfailingly displayed a
 genuine humanity. It showed in small ways: doing some pro bono work for a tenant of one of
 my clients, helping a friend of my daughter’s with local introductions, making sure the court
 reporters, the bailiff and the court clerk were acknowledged at a Thanksgiving luncheon
 during one of our trials, along with many other grace notes. These things may be individually
 trivial, but, over the years, they revealed a kindness and graciousness that I found admirable.

 In over forty years of practice, Tom is the most authentic, guileless person I've ever met,
 which is, I think we can agree, saying a lot about a trial lawyer.

 Sincerely,

 Gary T. Drummond
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